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    5.

    6.

    7.
    8.
                        THE UNITED STATES DISTRICT COURT
    9.
                         CENTRAL DISTRICT OF CALIFORNIA
   10.

   11. GUNN PACIFIC REFLECTION LLC, a             IN ADMIRALTY
         Washington limited liability company,
   12.
                                  Plaintiff,      Case No. 2:18-cv-06842-ODW-
   13.
               v.                                 JPR
   14.

   15. ASBJORN JOHNSEN, an individual;
         ODD WESTRUM, an individual; GARY         DECLARATION OF
   16.                                            ALEGRIA S. FORMAN IN
         K. WIGGINS, an individual;
   17.   CAPTAIN’S ADJUSTING SERVICES,            SUPPORT OF PROOF OF
         INC., a Washington corporation;          SERVICE TO CAPTAIN’S
   18.                                            ADJUSTING SERVICES, INC.
         MAGONE MARINE SERVICE, INC.,
   19.   an Alaska corporation; MARINE
         ELECTRIC, INC., a Washington
   20.
         corporation; NORTH SEA
   21.   REFRIGERATION INC., a Washington
         corporation; PROGRESSIVE
   22.
         FISHERIES L.L.C., a Washington
   23.   limited liability company,
   24.
                                  Defendants.
   25.
         DECLARATION OF ALEGRIA S. FORMAN          HOLMES WEDDLE & BARCOTT, A
   26.
         Gunn Pacific Reflection LLC v. Asbjorn   PROFESSIONAL CORPORATION
                                                          999 THIRD AVENUE, SUITE 2600
         Johnsen, et al. Page 1 of 3                         SEATTLE, WA 98104-4011
                                                  TELEPHONE (206) 292-8008 | FAX (206) 340-0289
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    1.
               I, Alegria S. Forman, declare as follows:
    2.

    3.         1.       I am over the age of 18, am competent to be a witness and make
    4.
          the following declaration based on my personal knowledge.
    5.

    6.
               2.       I am the legal assistant to Lafcadio H. Darling, counsel for

    7.    Plaintiff, Gunn Pacific Reflection LLC, in this matter.
    8.
               3.       Defendant Captain’s Adjusting Services, Inc. (“Captains”), an
    9.

   10.
          Oregon corporation, has failed to plead or otherwise defend this case and is

   11.    in default.
   12.
               4.       We conducted an internet search for Captains and found no
   13.

   14.    evidence that Captains was still an active company. We conducted a search

   15.    through the Oregon Secretary of State and Westlaw Company Investigator
   16.
          Report and learned that Captains was involuntarily dissolved by the State
   17.

   18.    of Oregon on April 29, 1994. Plaintiff submits its return receipt for

   19.    Defendant Captains, attached hereto as Exhibit 1, in conformity with ORS
   20.
          60.121(3)(b)(A). As part of Exhibit 1, we include copies of all materials
   21.

   22.    sent to Captains. After reasonable diligence, consisting of our internet

   23.    search and review of the Westlaw report, we have found no other address
   24.
          for Defendant Captains. See ORS 60.121(3)(b)(B).
   25.
         DECLARATION OF ALEGRIA S. FORMAN                HOLMES WEDDLE & BARCOTT, A
   26.
         Gunn Pacific Reflection LLC v. Asbjorn         PROFESSIONAL CORPORATION
                                                                 999 THIRD AVENUE, SUITE 2600
         Johnsen, et al. Page 2 of 3                                SEATTLE, WA 98104-4011
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    1.         5.      We attempted to deliver a copy of the materials attached as
    2.
          Exhibit 1 to Captains by certified mail to the last known registered agent,
    3.

    4.    Debra Chambers. The green card was signed by Diana Chambers, who
    5.    called me to report that she had signed the green for her sister Debra, who
    6.
          had passed away March 1, 2008.
    7.
    8.         6.      Plaintiff also submits evidence of proof of service in
    9.    accordance with Fed. Civ. Rule 4 (h)(1)(A) on Defendant Captains by
   10.
          serving the Oregon Secretary of State. Attached are the return receipt, the
   11.

   12.    copies of all materials sent to the Oregon Secretary of State, and the
   13.
          process service acknowledgment letter from the Oregon Secretary of State,
   14.
          Corporation Division in accordance with Oregon state law, ORS
   15.

   16.    60.121(2), and ORS 60.121(3)(a), as Exhibit 2.
   17.
                    I declare under the penalty of perjury under the laws of the United
   18.
          States of America that the foregoing is true and correct.
   19.

   20.         DATED this 11th day of December, 2018.
   21.

   22.
                                                 _____________________________
   23.
                                                 Alegria S. Forman, Legal Assistant
   24.

   25.
         DECLARATION OF ALEGRIA S. FORMAN               HOLMES WEDDLE & BARCOTT, A
   26.
         Gunn Pacific Reflection LLC v. Asbjorn        PROFESSIONAL CORPORATION
                                                                999 THIRD AVENUE, SUITE 2600
         Johnsen, et al. Page 3 of 3                               SEATTLE, WA 98104-4011
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